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                                                                               U.S, OiSTRiCT COUR]
                                                                                   AUGUSTA Div.
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
                                       DUBLIN DIVISION
                                                                               2Q20FE8!! PH 3= 07

                                                                              CLERK
                                                                                   SO.
UNITED STATE OF AMERICA,

VS.                                                CASENO:3:I2-CR-00003-12


GARY WESLEY


                 ORDER GRANTING MOTION FOR LEAVE OF ABSENCE

        WHEREAS, S. Ryan Dixon, counsel for Gary Wesley in the above-styled case, filed his

Motion for Leave of Absence herein in which he proper^ requested this Honorable Court for leave

of absence from this Court for the times covering February 14 and 17, 2020, April 6-10, 2020 and

June 22-26, 2020 for femily vacatioa

        IT IS HEREBY ORDERED AND ADJUDGED that said Motion for Leave of Absence is

granted regarding the aforementio

        SO ORDERED this //



                                            JUDGE, UNITED^ATES DISTRICT COUR]
                                            SOUTHERN D1^™CT OF GEORGIA

Order prepared by:
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